Case 2:23-cv-00059-JRG-RSP   Document 215-9   Filed 10/04/24   Page 1 of 16 PageID
                                  #: 12112




                       EXHIBIT I
Case 2:23-cv-00059-JRG-RSP            Document 215-9         Filed 10/04/24      Page 2 of 16 PageID
                                           #: 12113



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION
     TOUCHSTREAM TECHNOLOGIES, INC.,

                  Plaintiff,

           v.
                                                         Case No. 2:23-cv-00062-JRG
     COMCAST CABLE COMMUNICATIONS,
     LLC, D/B/A XFINITY, et al.,

                 Defendants.


                                          VERDICT FORM1
            In answering the following questions and completing this Verdict Form, you are to

     follow all the instructions that I have given you in the Court’s Final Jury Instructions. Your

     answers to each question must be unanimous. Some of the questions contain legal terms that

     are defined and explained in detail in the Final Jury Instructions. You should refer to and

     consider the Final Jury Instructions as you answer the questions in this Verdict Form.




 1
     Submissions that are agreed to by both Touchstream and Comcast are not highlighted.
 Submissions proposed by Touchstream that are not agreed to by Comcast are bracketed and
 highlighted in green. Submissions proposed by Comcast that are not agreed to by Touchstream are
 bracketed and highlighted in yellow. The parties have entered their objections, explanations,
 citations, and commentary in footnotes only.
 The parties reserve their respective rights to further object or propose revisions to this verdict form
 based on their pending motions or further development at trial.


                                                     1
Case 2:23-cv-00059-JRG-RSP         Document 215-9        Filed 10/04/24      Page 3 of 16 PageID
                                        #: 12114



 As used in this Verdict Form, the following terms have the following meanings:
        •      “Touchstream” refers to Plaintiff Touchstream Technologies, Inc.

        •      “Comcast” refers to Defendants Comcast Cable Communications, LLC, Comcast

               Corporation, Comcast Cable Communications Management, LLC, and Comcast of

               Houston, LLC

        •      The “’251 Patent” refers to U.S. Patent No. 8,356,251

        •      The “’751 Patent” refers to U.S. Patent No. 11,048,751

        •      The “’934 Patent” refers to U.S. Patent No. 11,086,934

        •      The “Asserted Patents” refers collectively to the ’251 Patent, the ’751 Patent, and

               the ’934 Patent

        •      The “Asserted Claims” refers collectively to ’251 Patent claims 1, 5, 7, 8, and 9;

               ’751 Patent claims 12, 13, and 14; and ’934 Patent claims 17, 18, 19 and 20




                                                 2
Case 2:23-cv-00059-JRG-RSP   Document 215-9   Filed 10/04/24   Page 4 of 16 PageID
                                  #: 12115



      IT IS VERY IMPORTANT THAT YOU FOLLOW THE
    INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




    READ THEM CAREFULLY AND ENSURE THAT YOUR
                VERDICT COMPLIES WITH THEM




                                       3
Case 2:23-cv-00059-JRG-RSP         Document 215-9       Filed 10/04/24     Page 5 of 16 PageID
                                        #: 12116



 QUESTION 1: INFRINGEMENT
 Has Touchstream proven by a preponderance of the evidence that Comcast infringed any of the

 following claims?

 For each claim, answer “Yes” (for Touchstream) or “No” (for Comcast).

 ’251 Patent:

        Claim 1:      Yes_______            No_______

        Claim 5:      Yes_______            No_______

        Claim 7:      Yes_______            No_______

        Claim 8:      Yes_______            No_______

        Claim 9:      Yes_______            No_______

 ’751 Patent:

        Claim 12:     Yes_______            No_______

        Claim 13:     Yes_______            No_______

        Claim 14:     Yes_______            No_______

 ’934 Patent:

        Claim 17:     Yes_______            No_______

        Claim 18:     Yes_______            No_______

        Claim 19:     Yes_______            No_______

        Claim 20:     Yes_______            No_______

 If you answered “Yes” to any of the above questions, please proceed to Question 2.

 If you answered “No” to all of the above questions, do not answer any further questions, and
 go directly to the final page of the verdict form.




                                                4
Case 2:23-cv-00059-JRG-RSP            Document 215-9         Filed 10/04/24      Page 6 of 16 PageID
                                           #: 12117



                     Touchstream’s Proposed Willful Infringement Question

 [QUESTION 2: WILLFUL INFRINGEMENT2

 Answer Question No. 2 ONLY as to any Touchstream Asserted Claim that you have found to be
 infringed by answering “YES” to Question 1.



 2
   Touchstream: As willfulness is an aspect of infringement rather than invalidity, Touchstream
 proposes that the Court instruct the jury on willfulness immediately after infringement (as opposed
 to providing willfulness instructions after damages as Comcast proposes). This would be
 consistent with this Court’s practice for instructing jury in other cases and the Federal Circuit Bar
 Association Model Jury Instructions. See, e.g., Constellation Designs, LLC v. LG Electronics Inc.,
 No. 2:21-cv-00448-JRG (E.D. Tex.) and Netlist, Inc. v. Samsung Electronics Co., No. 2:21-cv-
 00463-JRG (E.D. Tex.); Fed. Cir. Bar Assoc. Model Jury Instrs. at Instr. B.3.

 Moreover, there is no reason to include the time periods for willfulness in the verdict form, because
 the relevant time for willfulness will be explained to the jury in the Court’s jury instructions (which
 are explicitly incorporated by reference in this verdict form).

 Comcast: Although Comcast acknowledges the Federal Circuit’s holding that “the factual
 components of the willfulness question should be resolved by the jury,” WBIP, LLC v. Kohler Co.,
 829 F.3d 1317, 1341 (Fed. Cir. 2016), it preserves the argument that willfulness should be decided
 by the Court and not the jury as argued in Comcast’s Motion in Limine No. 3. See Dkt. 172 at 8-9.

 Should any willfulness question be presented to the jury, Comcast proposes that it be given after
 invalidity and damages. There cannot be willful infringement of any invalid claim and willfulness
 should not be discussed prior to the threshold issue of validity. Additionally, any such question
 should come after damages because of the risk that jurors will otherwise think that they should
 consider facts related to willfulness when arriving at the appropriate amount of damages for any
 claim they find valid and infringed. Comcast’s position is consistent with the American Intellectual
 Property Law Association’s Model Patent Jury Instructions, which proposes instructions on willful
 infringement after invalidity and damages. See AIPLA’s Model Patent Jury Instructions at V.11
 (2024); Equistar Chemicals, LP and MSI Tech. LLC v. Westlake Chemical Corp., No. 6:14-cv-
 00068-KNM (E.D. Tex.), ECF 204 at 4 (willfulness question at the end of the verdict form); Force
 Mos Technology Co., Ltd. v. ASUSTeK Computer, Inc., No. 2:22-cv-00460-JRG (E.D. Tex.), ECF
 288-9 at 11-12 (same).

 Moreover, for the reasons stated in Comcast’s Motion in Limine No. 3 (Dkt. No. 172 at 8-10),
 Comcast opposes the lack of time periods in Touchstream’s willfulness question. Since willfulness
 is relevant only to enhancement of damages, the applicable time periods for the ’251 Patent are
 (1) from the start of the damages period, February 17, 2017, until the day before the filing of this
 lawsuit, February 16, 2023, and (2) from the filing of this lawsuit on February 17, 2023, onward.
 The jury should additionally only determine post-suit willfulness for the ’751 and ’934 Patents
 pursuant to this Court’s order dismissing claims of pre-suit willfulness for these two patents. Dkt.
 156 at 8 (Case No. 2:23-cv-00060).

                                                     5
Case 2:23-cv-00059-JRG-RSP         Document 215-9        Filed 10/04/24    Page 7 of 16 PageID
                                        #: 12118



 Has Touchstream proven by a preponderance of the evidence that Comcast’s infringement was

 willful?

 Answer “Yes” (for Touchstream) or “No” (for Comcast).

 Yes_______       No_______

 Continue to Question 3. If you found that a particular claim is infringed by checking “Yes” in
 Question 1, please proceed to Questions 3 and 4 for those claims you answered “Yes” for in
 Question 1. If you found that a particular claim was not infringed by checking “No” in Question
 1, please do not answer the corresponding question regarding that claim in Questions 3 or 4.]




                                                 6
Case 2:23-cv-00059-JRG-RSP          Document 215-9        Filed 10/04/24     Page 8 of 16 PageID
                                         #: 12119



 QUESTION [3][2]: INVALIDITY3
 Has Comcast proven by clear and convincing evidence that any of the following claims are invalid?

 For each claim answer “Yes” (for Comcast) or “No” (for Touchstream).
 If you answered “No” for a claim in Question 1, do not answer the corresponding question
 regarding that claim in Question [3]/[2].
 ’251 Patent:

        Claim 1:       Yes_______            No_______

        Claim 5:       Yes_______            No_______

        Claim 7:       Yes_______            No_______

        Claim 8:       Yes_______            No_______

        Claim 9:       Yes_______            No_______

 ’751 Patent:

        Claim 12:      Yes_______            No_______

        Claim 13:      Yes_______            No_______

        Claim 14:      Yes_______            No_______

 ’934 Patent:

        Claim 17:      Yes_______            No_______

        Claim 18:      Yes_______            No_______

        Claim 19:      Yes_______            No_______

        Claim 20:      Yes_______            No_______

 Continue to Question [4]/[3].




 3
  Since the parties disagree on whether the jury should be asked about willful infringement as
 question #2 (Touchstream) or #5 (Comcast), the numbering of the next two questions is
 bracketed.

                                                  7
Case 2:23-cv-00059-JRG-RSP           Document 215-9         Filed 10/04/24    Page 9 of 16 PageID
                                          #: 12120



 QUESTION [4][3]: INELIGIBILITY4
 Has Comcast proven by clear and convincing evidence that the elements of the Asserted Claims,

 when taken individually and when taken as an ordered combination, involve only activities or

 technology which a person of ordinary skill in the art would have considered to be well-understood,

 routine, and conventional as of the priority date of the invention?

 For each claim for which you answered “Yes” to Question 1, answer “Yes” (for Comcast) or
 “No” (for Touchstream) in Question [4]/[3].
 If you answered “No” for a claim in Question 1, do not answer the corresponding question
 regarding that claim in Question [4]/[3].
 ’251 Patent:

        Claim 1:        Yes_______             No_______

        Claim 5:        Yes_______             No_______

        Claim 7:        Yes_______             No_______

        Claim 8:        Yes_______             No_______

        Claim 9:        Yes_______             No_______

 ’751 Patent:

        Claim 12:       Yes_______             No_______

        Claim 13:       Yes_______             No_______

        Claim 14:       Yes_______             No_______

 ’934 Patent:

        Claim 17:       Yes_______             No_______

        Claim 18:       Yes_______             No_______

        Claim 19:       Yes_______             No_______


 4
  The parties agree that a question on patent ineligibility should only be given should the Court
 deny both parties’ motions for summary judgment.

                                                   8
Case 2:23-cv-00059-JRG-RSP          Document 215-9        Filed 10/04/24      Page 10 of 16 PageID
                                          #: 12121



         Claim 20:      Yes_______             No_______

  Please proceed to Question [4] [5] only if there is at least one claim of the Asserted Patents for
  which you answered “Yes” in Question 1 AND for the same claim you answered “No” in
  Question [3] [2] and [4] [3].

  Otherwise, do NOT answer Question[s] [4 or 5] [5], and go directly to the final page of the
  verdict form.




                                                   9
Case 2:23-cv-00059-JRG-RSP            Document 215-9       Filed 10/04/24     Page 11 of 16 PageID
                                            #: 12122



                             Touchstream’s Proposed Damages Question

  [QUESTION 5: Damages5
  (a) Only if you have found a claim both infringed and valid, what amount would fairly and

       reasonably compensate Touchstream for Comcast’s infringement?



      $_______________________________________



  (b) Is the amount you awarded in Question 5(a) above a lump-sum covering past and future

       infringement by Comcast, or is that amount a running royalty covering Comcast’s infringement

       only through the date of today’s verdict?

      Check one of the following


      Paid up Lump sum: _____


      Running royalty: _____]


  5
    Touchstream disagrees that there is any requirement to have the jury award damages on a
  patent-by-patent basis for three reasons. First, the expert opinions on damages do not opine that
  a reasonable royalty should be awarded on a patent-by-patent basis. Second, the damages period
  for each patent will be provided to the jury in the Court’s jury instructions, and those damages
  periods do not need to be repeated here. Third, this Court has previously used a single damages
  line in cases involving multiple patents. See, e.g., Ollnova Techs. Ltd. v. ecobee Techs. ULC, No.
  2:22-CV-00072-JRG, Dkt. 225 at 2-3 (E.D. Tex.) (denying defendant’s motion for new trial and
  declining to amend final judgment in a case in which the verdict form used single infringement
  and damages lines for four patents).

  Comcast opposes Touchstream’s proposed damages question because it does not split out
  requested damages by patent. The ’751 Patent did not issue until June 29, 2021 and the ’934
  Patent did not issue until August 10, 2021. Touchstream’s damages question improperly implies
  that Touchstream may receive damages for the entire damages period for all three patents. See
  Force Mos Technology Co., Ltd. v. ASUSTeK Computer, Inc., No. 2:22-cv-00460-JRG (E.D.
  Tex.), ECF 288-9 at 9-10 (damages question split out by patent on plaintiff’s proposed verdict
  form).

                                                   10
Case 2:23-cv-00059-JRG-RSP          Document 215-9        Filed 10/04/24      Page 12 of 16 PageID
                                          #: 12123



                              Comcast’s Proposed Damages Question

  [QUESTION 4: DAMAGES6

  Answer Question No. 4 ONLY as to any Asserted Claim that you have found BOTH to be
  infringed AND not invalid by answering “YES” to Question 1 and “NO” to Questions 2 and 3
  for the same claim.

  The damages period for any infringement of the ’251 Patent in this case begins on February 17,

  2017. The damages period for any infringement of the ’751 Patent in this case begins on June 29,

  2021. The damages period for any infringement of the ’934 Patent in this case begins on August

  10, 2021.

  (a) For the claims you have found both infringed and valid in the ’251 Patent, what amount would

      fairly and reasonably compensate Touchstream for Comcast’s infringement?



      $_______________________________________



  (b) For the claims you have found both infringed and valid in the ’751 Patent, what amount would

      fairly and reasonably compensate Touchstream for Comcast’s infringement?



      $_______________________________________

  (c) For the claims you have found both infringed and valid in the ’934 Patent, what amount would

      fairly and reasonably compensate Touchstream for Comcast’s infringement?




  6
   Comcast proposes a damages question that properly identifies the damages period for each
  patent.

  Touchstream refers to its argument for why this is unnecessary in footnote 5.

                                                  11
Case 2:23-cv-00059-JRG-RSP          Document 215-9      Filed 10/04/24     Page 13 of 16 PageID
                                          #: 12124



    $_______________________________________

  (d) Is the amount you awarded in Questions 4(a)-(c) above a lump-sum covering past and future

     infringement by Comcast, or is that amount a running royalty covering Comcast’s infringement

     only through the date of today’s verdict?

    Check one of the following


    Paid up Lump sum:_____




    Running royalty:_____


  Continue to Question 5.]




                                                 12
Case 2:23-cv-00059-JRG-RSP           Document 215-9         Filed 10/04/24      Page 14 of 16 PageID
                                           #: 12125



                        Comcast’s Proposed Willful Infringement Question

  [QUESTION 5: WILLFUL INFRINGEMENT7
  Answer Question No. 5 ONLY as to any Touchstream Asserted Claim that you have found
  BOTH to be infringed AND not invalid by answering “YES” to Question 1 and “NO” to
  Questions 2 and 3 for the same claim.



  Has Touchstream proven by a preponderance of the evidence that Comcast’s infringement of

  Claims 1, 5, 7, 8, or 9 of the ’251 Patent was willful between February 17, 2017 and February 16,

  2023?

  Answer “Yes” (for Touchstream) or “No” (for Comcast).

  Yes_______        No_______



  Has Touchstream proven by a preponderance of the evidence that Comcast’s infringement of

  Claims 1, 5, 7, 8, or 9 of the ’251 Patent was willful after Touchstream filed suit on February 17,

  2023?

  Answer “Yes” (for Touchstream) or “No” (for Comcast).




  7
   Comcast opposes any question on willfulness for the reasons stated in n.2. Should any willfulness
  question be given to the jury, Comcast’s proposes that it be provided after invalidity and damages
  for the reasons stated in n.2 above.

  Comcast additionally proposes that the question of willful infringement be split up by patent, since
  pre-suit willful infringement is only at issue for the ’251 Patent and Touchstream is only alleging
  post-suit willful infringement for the ’751 and ’934 Patents.

  Touchstream disagrees that there is any requirement to have the jury determine willfulness on a
  patent-by-patent basis. Both the jury instructions and this verdict form instruct the jury that they
  may only consider willfulness for patents they found infringed, and the jury instructions provide
  the relevant period for each patent for willfulness. This Court has previously used a single
  willfulness question in cases involving multiple patents. See, e.g., Constellation Designs, LLC v.
  LG Electronics Inc., No. 2:21-cv-00448-JRG, Dkt. 277 at 6 (E.D. Tex.).

                                                    13
Case 2:23-cv-00059-JRG-RSP          Document 215-9       Filed 10/04/24     Page 15 of 16 PageID
                                          #: 12126



  Yes_______       No_______



  Has Touchstream proven by a preponderance of the evidence that Comcast’s infringement of

  Claims 12, 13, or 14 of the ’751 Patent was willful after Touchstream filed suit on February 17,

  2023?

  Answer “Yes” (for Touchstream) or “No” (for Comcast).

  Yes_______       No_______



  Has Touchstream proven by a preponderance of the evidence that Comcast’s infringement of

  Claims 17, 18, 19, or 20 of the ’934 Patent was willful after Touchstream filed suit on February

  17, 2023?

  Answer “Yes” (for Touchstream) or “No” (for Comcast).

  Yes_______       No_______]




                                                 14
Case 2:23-cv-00059-JRG-RSP          Document 215-9       Filed 10/04/24     Page 16 of 16 PageID
                                          #: 12127



                          FINAL PAGE OF JURY VERDICT FORM

           You have now reached the end of the Verdict Form and should review it to ensure it

  accurately reflects your unanimous determinations. The Jury Foreperson should then sign and

  date the Verdict Form in the spaces below. Once this is done, notify the Court Security Officer

  that you have reached a verdict. The Jury Foreperson should keep the Verdict Form and bring it

  when the jury is brought back into the courtroom.



  Signed this ____ day of ___________ 2024.




                                                              __________________________
                                                                Jury Foreperson




                                                  15
